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                 EXHIBIT 138
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From:                             Seidita, Gemma
Sent:                             Thursday, May 14, 2020 2:40 PM
To:                               Bryan Jones
Cc:                               Levine, Alan; Liverzani, Amanda L
Subject:                          Update re: Twitter
Attachments:                      Twitter - Authorization and Consent to Disclose Data.pdf


Hi Bryan,

I hope this finds you well. Our co‐counsel recently connected with counsel for Twitter about missing productions,
including productions from Hill and League of the South. The process Twitter advised us to use to collect the documents
is slightly different than the one advised to us by iDS. The main differences between the process iDS advised and the
process Twitter advised are that the consent form must be emailed to Twitter under their process. Additionally, the
privacy form which Defendants filed for the following accounts did not list the email address associated with that
account: Mickcollins1951; 51CeannCinnidh; 71Rhodie; BigChief1951; MichaelHill51; JamesHill20651, so for these
accounts please make sure you are using the correct email address.

Can you please follow the updated steps outlined below for the following accounts?

    1. Mickcollins1951
    2. 51CeannCinnidh
    3. 71Rhodie
    4. BigChief1951
    5. MichaelHill51
    6. JamesHill20651
    7. Occdissent

    1) Complete the attached consent form and email it to Redacted PII               , this must be emailed from the
       email address affiliated with the Twitter account. Please note that the information in the consent form needs
       to match the information that will next be submitted in the privacy form, particularly the specific data
       requested. The transmission email should also include the account‐holder’s Twitter username in the subject
       line or the body of the email so that Twitter can easily search for it if necessary.
           a. Data requested:
                     i. For the first two bullet points, please add in the following date range: 1/1/2015 – [date request
                        form is completed]
                    ii. For the third bullet point, please add in the following:
                            1. Profile Data, Followers, Following, Tweets (and retweets), Replies, Notifications,
                                 Messages (direct Messages) from 1/1/2015 – [date request form is completed].
           b. List the vendor’s email addresses as the email addresses where the content and data should be sent:
                     i. Ken Redacted PII
    2) Each account‐holder should then submit a request through the privacy form at
       https://help.twitter.com/forms/privacy. In the section of the form entitled, “Please enter the specific
       information you are requesting:”
           a. Specify what content and data they are requesting (which should be identical to the data requested in
                the consent form)
                     i. Profile Data, Followers, Following, Tweets (and retweets), Replies, Notifications, Messages
                        (direct Messages) from 1/1/2015 – [date request form is completed].
           b. List your discovery vendor’s email address as the email address where the content and data should be
                sent. (Note that in the section entitled, “The email address associated with your Twitter account”, the
                                                            1
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                 account‐holder must enter the email address associated with their suspended Twitter account ‐‐ they
                 should not enter the discovery vendor’s email address in that section.)
     3) It is important that the consent form is submitted via email before the privacy form request is
        submitted. After Twitter receives and validates both the paper consent form and the privacy form request,
        Twitter can email any requested and reasonably available content and data to your discovery vendor.

Apologies for any inconvenience and please let me know if you have any questions,

Gemma

Gemma Seidita
Admitted to practice in California and Massachusetts only
Not admitted to practice in DC
Supervised by members of the DC bar

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                       AUTHORIZATION AND CONSENT TO DISCLOSE DATA

 I am the registered account holder and sole authorized user of the Twitter account associated
 with:
 @Username _______________________________________________________ and
 Email address ______________________________________________________ (the
 “Account”).

 Pursuant to the Stored Communications Act, 18 U.S.C. § 2702(b)(3) and 2702(c)(2), I hereby
 consent to Twitter, Inc. (“Twitter”) disclosing the following data associated with the Account,
 which are in the Account, or were preserved pursuant to the subpoena(s) issued in Sines, et al.
 v. Kessler, et al., Case No. 3:17-cv-00072 (the “Documents”):
     ● Tweets and associated media, dated between ______________________________
         GMT/UTC and ______________________________ GMT/UTC; and
     ● Direct messages, group direct messages, and associated media, dated between
         ______________________________ GMT/UTC and _____________________________
         GMT/UTC.
     ● _______________________________________________

 I consent to Twitter delivering and divulging the Documents to:
 Recipient name _____________________________________________________
 Recipient email address: ______________________________________________

 By completing this consent and authorization, I understand and agree that, subsequent to such
 disclosure, Twitter cannot control how the records and content are used and whether the
 records and content are further disclosed, including by filing in the public record.

 I hereby release any claims I may have against Twitter and/or its parents, subsidiaries, affiliates,
 related companies, officers, directors, employees, agents, representatives, partners, and
 licensors (the “Twitter Entities”) with respect to damage or loss caused by, or arising out of, or
 being incidental to the above-referenced disclosure of records or contents of communications.




 ________________________________________________
 Printed name


 ________________________________________________
 Signature


 ________________________________________________
 Date
